Case 2:04-cv-02102-.]PI\/|-STA Document 19 Filed 05/09/05 Page 1 of 2 Page|D 28

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IN THE UNITED STATES DISTR]CT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 W§Y mg PH h 00

wEsTERN DrvIsroN
JULIA J. McMILLIAN, ) :i;§ii:‘ ‘H§§§:Lé%;
Plaintiff, i - l
v. i No. 04-2102 Ml/An
RoNNIE L. EVATT, er ai., i
Defendants. §

 

ORDER GRANTING DEFENDANTS’ MOTION TO COMPEL

 

Before the Court is Defendants’ Motion to Compel filed on April 14, 2005. Plaintiff
failed to file a response to the motion as required by Local Rule 7.2(21)(2). “F ailure to timely
respond to any motion, other than one requesting dismissal of a claim or action, may be deemed
good grounds for granting the motion.” Local Rule 7.2(21)(2). As such, the Motion is
GRANTED. Plaintiff should provide Defendants With complete responses to Defendants’ First
Set of Interrogatories and Requests for Production of Documents Within ll days of entry of this
Order. Plaintiff is reminded that the failure to comply With an Order of the Court can be grounds
for the imposition of sanctions

IT IS SO ORDERED.

€§ %AJ dad/nd

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: W//F~»-, W(/, zoo_¢/
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with Ru!e 58 and/or 79(3) FHCP on _S_Li__Q§~ "

 

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This notice confirms a copy of the document docketed as number 19 in
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ESSEE

 

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Honorable .l on McCalla
US DISTRICT COURT

